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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
OWEN W. BARNABY,
Plaintiff, Case No. 1:22-cv-01146
Vv. Hon. Robert J. Jonker
Mag. Sally J. Berens

THE CITY OF BENTON HARBOR, et al.,
Defendants.

 

EXPEDITED CONSIDERATION REQUESTED

THE CITY OF BENTON HARBOR’S EMERGENCY MOTION TO EXTEND TIME TO
FILE RESPONSE TO PLAINTIFF’S SECOND AMENDED COMPLAINT AND TO
STRIKE PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT (ECF NO. 31) AND

APPLICATION FOR ENTRY OF DEFAULT JUDGMENT (ECF NO. 32)

Defendant the City of Benton Harbor (“Benton Harbor”) requests that it be granted an
extension to respond to Plaintiff’s Second Amended Complaint of 28 days after the Court makes
a determination regarding Magistrate Judge Berens’ Report and Recommendation (ECF No. 16).
Benton Harbor further requests expedited consideration of this request under L.R. 7.1(e) because
the deadline is January 4, 2023.

Benton Harbor further requests that this court strike or deny Plaintiff’s Motion for Default
Judgment against Benton Harbor (ECF No. 31) and reject Plaintiff’s Application for Entry of
Default (ECF No. 32) because both were filed prior to the expiration of Benton Harbor’s deadline
to respond to Plaintiff’s Second Amended Complaint.

In support of its motion, Benton Harbor relies on the law and facts cited in its

accompanying brief.
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Dated: January 4, 2022

Respectfully submitted,

/s/ Thomas J. Rheaume, Jr.

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
OWEN W. BARNABY,
Plaintiff, Case No. 1:22-cv-01146
Vv. Hon. Robert J. Jonker
Mag. Sally J. Berens

THE CITY OF BENTON HARBOR, et al.,
Defendants.

 

BRIEF IN SUPPORT OF THE CITY OF BENTON HARBOR’S
EMERGENCY MOTION TO EXTEND TIME TO FILE RESPONSE TO PLAINTIFF’S
SECOND AMENDED COMPLAINT AND TO STRIKE PLAINTIFF’S MOTION FOR
DEFAULT JUDGMENT (ECF NO. 31) AND APPLICATION FOR ENTRY
OF DEFAULT JUDGMENT (ECF NO. 32)

FACTUAL BACKGROUND

This action is the third in a series of protracted attempts by Plaintiff to recover alleged
damages for foreclosures that occurred in 2010. As the court has already correctly noted, Plaintiff's
claims in this matter have previously been adjudicated to completion and are precluded by
collateral estoppel and res judicata. See ECF No. 16.

Plaintiff filed a state lawsuit in 2012 and a federal suit in the Western District of Michigan
in 2018. His state court motion for a new foreclosure hearing was denied and his federal lawsuit
was ultimately decided in defendants’ favor on summary judgment. Plaintiff appealed both cases
and lost both times.

Now, twelve years after the foreclosure, Plaintiff filed yet another complaint in the Eastern
District of Michigan on October 7, 2022 against the City of Benton Harbor (“Benton Harbor”) and
a dozen other defendants. After being permitted to amend the complaint twice, Plaintiff's case was

transferred to the Western District of Michigan on December 5, 2022. See ECF No. 11. Plaintiff
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then served the Second Amended Complaint on Benton Harbor on December 14, 2022 by certified
mail. ECF No. 29, PageID.110.

On December 14, 2022, Magistrate Judge Berens filed a Report and Recommendation
(ECF No. 16) recommending that the Court dismiss Plaintiff’s Second Amended Complaint in its
entirety for lack of subject matter jurisdiction. Specifically, Plaintiff’s claims are barred by both
issue and claim preclusion. Although Benton Harbor was not a party to the previous cases,
Magistrate Judge Berens noted:

“The fact that Barnaby has added numerous other parties to this
action who are either in privity with Witkowski and Berrien County
or have no factual connection to the 2010 foreclosure does not
change the above analysis [regarding issue and claim preclusion].
Likewise, his new allegation of a wide-ranging conspiracy . . .
provides no escape from claim and issue preclusion. . . . This is
nothing more than a legal conclusion devoid of factual content,
which does not plausibly allege a conspiracy. .. Finally, Barnaby’s
forgery allegations do not save his claim from the preclusion
doctrines. . . . In the end, Barnaby is left with the same set of facts
that were before the state court.

ECF No. 16, PageID.14-15.

After the Report and Recommendation was filed, Plaintiff sought and received an extension
to file objections to the Report and Recommendation to January 25, 2023. ECF No. 24.

On January 4, 2023, Plaintiff prematurely filed a motion for default judgment against
Benton Harbor. ECF No. 31. Shortly thereafter, he filed an application for the clerk’s entry of
default judgment as to Benton Harbor. ECF No. 32. In doing so, Plaintiff committed two
procedural errors: (1) seeking the clerk’s entry of default judgment a day early on January 4, 2023,
and (2) filing a motion for default judgment under Fed. R. Civ. P. 55(b) before seeking the clerk’s

entry of default judgment under Fed. R. Civ. P. 55(a).
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ARGUMENT
1. Benton Harbor Has Demonstrated Good Cause to Extend its Response Time.

Benton Harbor requests additional time to respond to Plaintiff’s Second Amended
Complaint. Under Fed. R. Civ. P. 6(b)(1)(A), a court may extend the time for a party to take action
for good cause. A request for an extension of time made before expiration of the original deadline
“may be with or without motion or notice.’” Lujan v. Nat’l Wildilfe Fed’n, 497 U.S. 871, 896
(1990).

Benton Harbor was served Plaintiff’s Second Amended Complaint—a 68-page, 109-count
screed against various state, municipal, and individual actors for upwards of $18 million damages
from a 2010 foreclosure that has already been adjudicated in this Court—twenty days ago. Benton
Harbor has good cause based on the magistrate judge’s Report and Recommendation (ECF No.
16) to believe that the action will be dismissed sua sponte, thereby mooting any obligation by
Benton Harbor to respond. Even if this matter is not dismissed sua sponte, Benton Harbor has
properly requested additional time to review and analyze Plaintiff’s claims to formulate a response.

Plaintiff has been provided until January 25, 2023 to lodge objections to the Report and
Recommendation. ECF No. 24. Benton Harbor should not be obligated to expend resources
responding to Plaintiff’s Second Amended Complaint until after the Court determines if it will
adopt the Report and Recommendation, because there is a likelihood that the Court may dismiss
Plaintiff’s claims in their entirety. As such, Benton Harbor requests that it be required to respond,
if at all, 28 days after a determination is made on the Report and Recommendation.

2. This Court Should Strike or Deny Plaintiff’s Motion for Default Judgment and
Plaintiff’s Application for Entry of Default.

In addition, Plaintiff’s attempts to enter a default judgment against Benton Harbor are

premature and should be stricken by this Court. Benton Harbor was served the Second Amended
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Complaint on December 14, 2022. Under Fed. R. Civ. P. 12(a)(1)(A)(i), Benton Harbor has 21
days to respond, meaning, until January 4, 2022. Because Benton Harbor still had time to file a
response to Plaintiff’s Second Amended Complaint under the Court Rules, this Court should strike

Plaintiff’s procedurally improper motion and application.

CONCLUSION
Because the magistrate judge has issued a report and recommendation that this matter be
dismissed in its entirety, see ECF No. 16, and because Benton Harbor requires additional time to
review and respond to Plaintiff’s allegations, Benton Harbor requests that this Court grant it an
extension to respond to Plaintiff’s Second Amended Complaint of 28 days after a determination is
made on the Report and Recommendation. Benton Harbor also requests that the Court strike

Plaintiff’s premature Motion for Default Judgment and Application for Default.

Respectfully submitted,

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
OWEN W. BARNABY,
Plaintiff, Case No. 1:22-cv-01146

Vv. Hon. Robert J. Jonker
Mag. Sally J. Berens

THE CITY OF BENTON HARBOR, et al.,

Defendants.

 

CERTIFICATE OF SERVICE

I hereby certify that on January 4, 2023 I caused the electronic filing of the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of such filing to all

counsel of record.

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